                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 1 of 8



                                                         1   THOMAS G. RYAN (NV Bar No. 9378)
                                                             tryan@lrrlaw.com
                                                         2   HOWARD E. COLE (NV Bar No. 4950)
                                                         3   hcole@lrrlaw.com
                                                             JENNIFER K. HOSTETLER (NV Bar No. 11994)
                                                         4   jhostetler@lrrlaw.com
                                                             LEWIS ROCA ROTHGERBER LLP
                                                         5   3993 Howard Hughes Parkway, Suite 600
                                                             Las Vegas, NV 89169
                                                         6   (702) 949-8315 tel
                                                         7   (702) 949-8379 fax

                                                         8   MICHAEL J. ABRAMS
                                                             mabrams@lathropgage.com
                                                         9   LATHROP & GAGE LLP
                                                             2345 Grand Boulevard, Suite 2200
                                                        10   Kansas City, MO 64108
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11   (816) 292-2000 tel
Lathrop & Gage LLP




                                                             (816) 292-2001 fax
                                                        12   Pro Hac Vice Admitted

                                                        13   Attorneys For Plaintiff
                                                             IPFS Corporation
                                                        14

                                                        15                                  UNITED STATES DISTRICT COURT
                                                        16                                      DISTRICT OF NEVADA
                                                        17
                                                        18   IPFS CORPORATION, a Missouri                  Case No. 2:14-cv-00509-GMN-GWF
                                                             Corporation,
                                                        19                                                 PLAINTIFF’S SUGGESTIONS IN
                                                                               Plaintiff,                  OPPOSITION TO DEFENDANT’S
                                                        20                                                 MOTION FOR SUMMARY JUDGMENT
                                                             v.
                                                        21                                                 Oral Argument Requested (LR 78-2)
                                                             LORRAINE CARRILLO, an individual,
                                                        22
                                                                               Defendant.
                                                        23
                                                        24
                                                                      Plaintiff IPFS Corporation (“IPFS”), through counsel, respectfully submits these
                                                        25
                                                        26   Suggestions in Opposition to Defendant Lorraine Carrillo’s Motion for Summary Judgment.

                                                        27
                                                        28
                                                             23317960v1
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 2 of 8



                                                         1   I.       PROCEDURAL BACKGROUND
                                                         2            IPFS moved for partial summary judgment on October 27, 2014 seeking an order that (a)
                                                         3
                                                             finds Carrillo liable for breach of contract on her employment agreement; (b) modifies the
                                                         4
                                                             restrictions to promote fairness; (c) immediately enjoins her from further breach; and (d) reserves
                                                         5
                                                             the issue of damages for trial. IPFS’s motion has been fully briefed since December 3, 2014; it is
                                                         6
                                                         7   still pending. On December 22, 2014, Carrillo submitted her own motion for summary judgment,

                                                         8   Doc. 60. Notably, however, Carrillo’s motion for summary judgment raises no new arguments,

                                                         9   case law, or evidence not previously advanced in her opposition to IPFS’s motion. Compare
                                                        10
                                                             Doc. 60 with Doc. 55. Carrillo’s motion apparently abandons several of her more unavailing
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11
Lathrop & Gage LLP




                                                             arguments,1 but her remaining arguments fare no better. Because most of the issues are the same,
                                                        12
                                                             only with a slightly different procedural posture, IPFS incorporates by reference all of its
                                                        13
                                                             previously submitted evidence and briefing on IPFS’s Motion for Partial Summary
                                                        14

                                                        15   Judgment, Docs. 44 and 57. This brief will simply highlight IPFS’s responses to Carrillo’s

                                                        16   remaining arguments.
                                                        17   II.      ARGUMENT
                                                        18
                                                             A.       IPFS Presented Overwhelming Evidence that IPFS Has a Protectable Interest in the
                                                        19            Customers Identified on the Restricted List

                                                        20            There is ample evidence within the record to demonstrate that IPFS has a protectable

                                                        21   interest in its customers, and that the proposed modifications of Carrillo’s Agreement are no more
                                                        22
                                                             restrictive than necessary to protect IPFS’s interest. (However, even if more evidence was
                                                        23
                                                             needed to modify the Agreement, this would be a fact issue precluding summary judgment in
                                                        24
                                                             favor of Carrillo). Missouri Revised Statute § 431.202.1 confirms that employers, such as IPFS,
                                                        25
                                                        26            1
                                                                       Carrillo previously criticized the evidentiary basis of the Restricted List, claimed that IPFS’s business
                                                        27   growth, her changes in territory, and changes in compensation affected the enforceability of the Agreement. She also
                                                             claimed that the “equities” favored her. These arguments are not raised in Carrillo’s affirmative motion. Compare
                                                        28   Doc. 60 with Doc. 55.
                                                             23317960v1                                             -2-
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 3 of 8



                                                         1   have a legally protectable interest in their customer relationships. Decades of Missouri case law
                                                         2   hold that agreements should be enforced as written or modified to protect these relationships.
                                                         3
                                                             IPFS asks the Court to enjoin Carrillo with a customer-specific restriction that was approved by
                                                         4
                                                             the Missouri Supreme Court in Whelan Sec. Co. v. Kennebrew, 379 S.W.3d 835, 847 (Mo. 2012).
                                                         5
                                                             In Whelan, the Missouri Supreme Court simply limited the restriction to “those customers with
                                                         6
                                                         7   whom [the former employees] dealt.” Id.      IPFS used its best efforts to ascertain IPFS’s current

                                                         8   customers with whom Carrillo dealt, identified those customers on a “Restricted List,” and

                                                         9   submitted it with the Complaint. These are IPFS’s current customers in a defined territory for
                                                        10
                                                             whom Carrillo was compensated to service, maintain relationships, assist with any problems,
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11
Lathrop & Gage LLP




                                                             regularly solicit, and for whom she received commissions when the customers facilitated loans
                                                        12
                                                             through IPFS. See, e.g., Doc. 44-4; Doc. 44-5; and Doc. 55-4, pp. 6; 10-11. It is certainly
                                                        13
                                                             reasonable to restrict Carrillo from soliciting the actual and current customers that IPFS assigned
                                                        14

                                                        15   to her for safekeeping.

                                                        16            Carrillo now oddly tries to minimize her role in earning her commissions, essentially
                                                        17   arguing that she did not do the work IPFS paid her to do. However, when pressed at her
                                                        18
                                                             deposition and asked, “[are] there any agencies on [the Restricted List] that you did not have
                                                        19
                                                             contact with while you were at IPFS in -- in connection with your duties and responsibilities for
                                                        20
                                                             IPFS?,” Carrillo identified only 5 out of the 103 listed. See Doc. 57-2, Carrillo Dep. at 90:12 –
                                                        21
                                                        22   93:16 (listing JPG Insurance, Century One, O’Keefe, Bodenstein, Bill Mitchell).          Although

                                                        23   Carrillo was paid to service these customers and received compensation for their sales, IPFS does

                                                        24   not oppose striking these 5 customers from the Restricted List. Undisputed evidence shows that
                                                        25   Carrillo “dealt” with the other 98 customers on the Restricted List and, therefore, enforcement is
                                                        26
                                                             appropriate under Whelan.
                                                        27
                                                        28
                                                             23317960v1                                     -3-
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 4 of 8



                                                         1            Specifically, Carrillo criticizes the Restricted List because it was compiled by ascertaining
                                                         2   all the customers that were “coded” to Carrillo supposedly without making an “individualized
                                                         3
                                                             assessment” of the clients to determine the “‘nature, quality, or quantity of contacts.’” SUF, ¶ 11;
                                                         4
                                                             Doc. 60, pp. 8-9 (quoting Cont’l Research Corp. v. Scholz, 595 S.W.2d 396, 401 (Mo. Ct. App.
                                                         5
                                                             1980)). Notably, however, Continental Research does not suggest that employers must engage in
                                                         6
                                                         7   such an “assessment” for each customer. Rather, this case simply affirmed a trial court’s refusal

                                                         8   to enforce a restrictive covenant outside the limits of a former employee’s sales territory—the

                                                         9   trial court notably upheld the restriction within the former employee’s territory.          Id.   It is
                                                        10
                                                             reasonable to find that a salesperson has the requisite nature, quality and quantity of contacts with
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11
Lathrop & Gage LLP




                                                             current customers in her territory to whom she has actually sold.
                                                        12
                                                                      Carrillo cites no Missouri authority requiring an “individualized assessment” for each
                                                        13
                                                             customer relationship. Carrillo has identified absolutely no Missouri case law where a court
                                                        14

                                                        15   refused to restrict a salesperson from soliciting actual customers in her own territory, on the

                                                        16   grounds that the salesperson did not have sufficient contact with her assigned customers.
                                                        17   Carrillo’s job was to stay in contact with these active customers. She should not be excused from
                                                        18
                                                             her contractual obligations based on vague statements that the Restricted List contains “certain
                                                        19
                                                             [unnamed] agencies” that she did not contact during her final 24 months with IPFS, or that she
                                                        20
                                                             contacted “certain [unnamed] agencies . . . so infrequently that [she] cannot recall when, why, or
                                                        21
                                                        22   how [she] did so.” Carrillo Decl. ¶¶ 25-26.

                                                        23            Carrillo’s reliance on Easy Returns Midwest, Inc. v. Schultz, 964 S.W.2d 450, 453-54

                                                        24   (Mo. Ct. App. 1998) is misplaced. In Easy Returns, the court reversed summary judgment
                                                        25   because the employer failed to provide evidence of the employee’s “quality, frequency, or
                                                        26
                                                             duration” of customer contacts in 24 states, wherein the employer failed to show that it has any
                                                        27
                                                             customers in those same 24 states. Id. In the present case, customers on the Restricted List are
                                                        28
                                                             23317960v1                                       -4-
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 5 of 8



                                                         1   actual and current relationships that Carrillo was paid to contact and service. Easy Returns
                                                         2   cannot be used to claim that an employer, or the Court, has to investigate every single customer
                                                         3
                                                             relationship to determine the level of potential loyalty. Such loyalty is a secret of the heart, which
                                                         4
                                                             is often unknown until the salesperson leaves and the customer follows.
                                                         5
                                                                      Moreover, conducting an “individualized assessment” was impracticable because Carrillo
                                                         6
                                                         7   worked from home and failed to track her activities on IPFS’s Customer Relations Management

                                                         8   system (“CRM”). “[The CRM is] a management system where the sales executives can log all of

                                                         9   their visits to agencies, calls with agencies, we use it to track emails. Anything you know about
                                                        10
                                                             the agency can be added in there: If they’re sensitive to rate, their terms, what other finance
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11
Lathrop & Gage LLP




                                                             companies they might currently be using, technology issues they have, things that we have
                                                        12
                                                             offered them. It’s just kind of a recap of everything in the agency where the sales executive can
                                                        13
                                                             put it in one spot for everybody to see.” See Doc. 57-1, Rachel Yunk Dep. at 36:5-14. However,
                                                        14

                                                        15   after Carrillo’s departure, IPFS learned that Carrillo did not use the CRM to track her contacts

                                                        16   with her customers.     Id. at 41:1-15.    IPFS should not be penalized for not conducting an
                                                        17   “individualized assessment,” when none is required by law, and because Carrillo failed to catalog
                                                        18
                                                             her customer contacts on the CRM system, it would have been unreasonable to do so. Following
                                                        19
                                                             Whelan, IPFS utilized its best efforts to identify the customers with whom Carrillo dealt. This is
                                                        20
                                                             sufficient under Missouri law.
                                                        21
                                                        22            It is no surprise that Carrillo has not proposed any alternative restrictions—she took her

                                                        23   closest and most recent customer relationships with her to IPFS’s competitor. See Doc. 44-8.

                                                        24   Indeed, all of IPFS’s customers that Carrillo has successfully taken to her new employer were
                                                        25   serviced directly by Carrillo in the last few months of her employment with IPFS. Id. Even the
                                                        26
                                                             most narrow restrictions would result in a finding of Carrillo’s breach of contract. Carrillo’s only
                                                        27
                                                             hope is for the Court to completely disregard any of her contractual obligations to IPFS. The
                                                        28
                                                             23317960v1                                      -5-
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 6 of 8



                                                         1   proposed restrictions are supported by Missouri law and by undisputed evidence on the record.
                                                         2   Accordingly, the Court should adopt the Restricted List as the manner to enjoin Carrillo from
                                                         3
                                                             soliciting certain customers in whom IPFS has a protectable interest.
                                                         4
                                                             B.       Public Policy Supports Modifying the Agreement to Protect IPFS from Carrillo’s
                                                         5            Injurious Conduct Toward IPFS’s Customer Relationships.
                                                         6            An essential term of the Agreement is that Carrillo agreed that she would be restricted
                                                         7
                                                             from unfairly competing against IPFS once she left her employment. IPFS does not seek to
                                                         8
                                                             change this essential term, but rather asks the Court to enforce it in a manner that reflects recent
                                                         9
                                                             developments in Missouri law on “reasonableness” under Missouri Revised Statute § 431.202.1.
                                                        10
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11   There is nothing untoward about this request. Nevertheless, Carrillo discourages the Court from
Lathrop & Gage LLP




                                                        12   modifying the Agreement by claiming it is against public policy for the Court to “rewrite” the

                                                        13   terms of an agreement. This argument is directly contradicted by numerous opinions in Missouri
                                                        14   case law, which hold that a defendant can be liable for breach and restrictions can be fashioned
                                                        15
                                                             without any regard to an employment contract’s original wording. See, e.g., Mid-States Paint &
                                                        16
                                                             Chem. Co. v. Herr, 746 S.W.2d 613, 616 (Mo. Ct. App. 1988); Orchard Container Corp. v.
                                                        17
                                                             Orchard, 601 S.W.2d 299, 303 (Mo. Ct. App. 1980); Payroll Advance, Inc. v. Yates, 270 S.W.3d
                                                        18
                                                        19   428, 437 (Mo. Ct. App. 2008); see also R. E. Harrington, Inc. v. Frick, 428 S.W.2d 945, 951

                                                        20   (Mo. Ct. App. 1968) (“the courts of this state . . . have decreed enforcement as against a

                                                        21   defendant whose breach occurred within an area in which restriction would clearly be reasonable,
                                                        22
                                                             even though the terms of the agreement imposed a larger and unreasonable restraint”). Left with
                                                        23
                                                             nothing else, Carrillo relies on inapposite case law from other jurisdictions to impose rules and
                                                        24
                                                             requirements that have been expressly rejected in Missouri.
                                                        25
                                                                      Public policy, as explained in these Missouri cases, is to protect employers from this exact
                                                        26
                                                        27   type of injury by fashioning a remedy that is fair for both parties. The modified Agreement

                                                        28   adequately balances the competing interests of IPFS and Carrillo because it is narrowly tailored to
                                                             23317960v1                                    -6-
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 7 of 8



                                                         1   protect IPFS’s legitimate business interests while still permitting Carrillo to earn a living and
                                                         2   further her career. None of Carrillo’s arguments are persuasive and, at the very least, disputed
                                                         3
                                                             material facts preclude summary judgment in favor of Carrillo.
                                                         4
                                                             III.     CONCLUSION
                                                         5
                                                                      For the reasons stated above, IPFS respectfully requests that this Court deny Carrillo’s
                                                         6
                                                             Motion for Summary Judgment, grant IPFS’s Motion for Partial Summary Judgment on the issue
                                                         7
                                                         8   of Carrillo’s liability for breach of her Agreement, and order immediate injunctive relief

                                                         9   enforcing the Agreement, as modified by IPFS’s request. Specifically, IPFS seeks a judgment
                                                        10   and injunction that Carrillo shall not sell to any of IPFS’s clients identified on the Restricted List
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11
Lathrop & Gage LLP




                                                             until June 3, 2015, and for such other and proper relief as it deems just and equitable.
                                                        12
                                                                      Dated this 15th day of January, 2015.
                                                        13
                                                        14

                                                        15
                                                                                                              LATHROP & GAGE LLP
                                                        16
                                                        17                                                    By:    /s/ Michael J. Abrams
                                                                                                                     Michael J. Abrams
                                                        18                                                           2345 Grand Boulevard, Suite 2200
                                                                                                                     Kansas City, Missouri 64108
                                                        19
                                                                                                                     Telephone: 816.292.2000
                                                        20                                                           Facsimile: 816.292.2001

                                                        21                                                           and
                                                        22                                                           Thomas G. Ryan
                                                        23                                                           Howard E. Cole
                                                                                                                     Jennifer K. Hostetler
                                                        24                                                           LEWIS ROCA ROTHGERBER LLP
                                                                                                                     3993 Howard Hughes Parkway, Suite 600
                                                        25                                                           Las Vegas, Nevada 89169
                                                        26                                                           Attorneys for Plaintiff IPFS Corporation
                                                        27
                                                        28
                                                             23317960v1                                        -7-
                                                             Case 2:14-cv-00509-GMN-NJK Document 64 Filed 01/15/15 Page 8 of 8



                                                         1                                       CERTIFICATE OF SERVICE

                                                         2            The undersigned hereby certifies that she caused a copy of the foregoing pleading to be
                                                         3   filed and served on the 15th day of January 2015, upon the following counsel of record via the
                                                         4   Court’s electronic filing system:
                                                         5            Timothy R. Mulliner
                                                                      Matthew D. Lamb
                                                         6
                                                                      Ballard Spahr LLP
                                                         7            100 North City Parkway, Suite 1750
                                                                      Las Vegas, Nevada 89106
                                                         8            Telephone: (702) 471-7000
                                                                      Facsimile: (702) 471-7070
                                                         9            MullinerT@ballardspahr.com
                                                        10            LambM@ballardspahr.com
                     Kansas City, Missouri 64108-2618
                     2345 Grand Boulevard, Suite 2200




                                                        11            John G. Kerkorian
Lathrop & Gage LLP




                                                                      Ballard Spahr LLP
                                                        12            1 East Washington Street, Suite 2300
                                                                      Phoenix, Arizona 85004-2555
                                                        13            Telephone: (602) 798-5400
                                                        14            Facsimile: (602) 798-5595
                                                                      KerkorianJ@ballardspahr.com
                                                        15
                                                                      Attorneys for Defendant Lorraine Carrillo
                                                        16
                                                        17                                                         /s/ Jan Ruggles
                                                                                                                   An employee of Lathrop & Gage LLP
                                                        18
                                                        19
                                                        20
                                                        21
                                                        22
                                                        23
                                                        24
                                                        25
                                                        26
                                                        27
                                                        28
                                                             23317960v1                                      -8-
